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               IN THE UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE: THE HONORABLE CLAIRE R. KELLY, JUDGE
__________________________________________
                                                )
HUSTEEL CO., LTD.,                              )
                                                )
            Plaintiff,                          )
                                                )
     and                                        )
                                                )
NEXTEEL CO., LTD. ET AL.,                       )
                                                )
            Consolidated Plaintiffs,            )
                                                )
     v.                                         ) Consol. Court No. 19-00112
                                                )
UNITED STATES,                                  )
                                                )
            Defendant,                          )
                                                )
     and                                        )
                                                )
MAVERICK TUBE CORPORATION ET AL.,               )
                                                )
            Defendant-Intervenors and           )
            Consolidated Defendant-Intervenors. )
__________________________________________)

                                              ORDER

          Upon consideration of the Department of Commerce’s redetermination following

remand, the comments on the redetermination filed by defendant-intervenor, responses thereto,

the administrative record, and all other pertinent papers, it is hereby

          ORDERED that the Department of Commerce’s redetermination is sustained; and it is

further
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      ORDERED that judgment is entered in favor of the United States.




                                                        _____________________________
                                                        CLAIRE R. KELLY, JUDGE

Dated: __________________




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           IN THE UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE: THE HONORABLE CLAIRE R. KELLY, JUDGE
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                                                )
HUSTEEL CO., LTD.,                              )
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            Plaintiff,                          )
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     and                                        )
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NEXTEEL CO., LTD. ET AL.,                       )
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            Consolidated Plaintiffs,            )
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     v.                                         ) Consol. Court No. 19-00112
                                                )
UNITED STATES,                                  )
                                                )
            Defendant,                          )
                                                )
     and                                        )
                                                )
MAVERICK TUBE CORPORATION ET AL.,               )
                                                )
            Defendant-Intervenors and           )
            Consolidated Defendant-Intervenors. )
__________________________________________)


                        DEFENDANT’S RESPONSE TO
           COMMENTS ON SECOND REMAND REDETERMINATION
______________________________________________________________________________

                                             BRYAN M. BOYNTON
                                             Acting Assistant Attorney General

                                             JEANNE E. DAVIDSON
                                             Director

                                             L. MISHA PREHEIM
                                             Assistant Director

OF COUNSEL:                                  ROBERT R. KIEPURA
REZA KARAMLOO                                Trial Attorney
Senior Counsel                               U.S. Department of Justice
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November 3, 2021                       Attorneys for Defendant United States
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             IN THE UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE: THE HONORABLE CLAIRE R. KELLY, JUDGE
__________________________________________
                                                )
HUSTEEL CO., LTD.,                              )
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            Plaintiff,                          )
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     and                                        )
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NEXTEEL CO., LTD. ET AL.,                       )
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            Consolidated Plaintiffs,            )
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     v.                                         ) Consol. Court No. 19-00112
                                                )
UNITED STATES,                                  )
                                                )
            Defendant,                          )
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     and                                        )
                                                )
MAVERICK TUBE CORPORATION ET AL.,               )
                                                )
            Defendant-Intervenors and           )
            Consolidated Defendant-Intervenors. )
__________________________________________)

                       DEFENDANT’S RESPONSE TO
              COMMENTS ON SECOND REMAND REDETERMINATION

       Defendant, the United States, respectfully submits this response to the comments of

defendant-intervenors Maverick Tube Corporation and IPSCO Tubulars Inc. (collectively,

Maverick), ECF No. 116 (Maverick Br.), concerning the Department of Commerce’s

(Commerce’s) second redetermination filed in accordance with this Court’s decision and remand

order in Husteel Co. Ltd. v. United States, 520 F. Supp. 3d 1296 (Ct. Int’l Trade 2021) (Remand

Order). Final Results of Redetermination Pursuant to Court Remand (Dep’t of Commerce Sept.

2, 2021), ECF No. 113 (Second Redetermination).
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       For the reasons we explain below, the Court should sustain Commerce’s Remand

Redetermination.

                                       BACKGROUND

       The administrative determination under review is Welded Line Pipe From the Republic of

Korea, 84 Fed. Reg. 27,762 (Dep’t of Commerce June 14, 2019) (final admin. review) (P.R.

330),1 and accompanying Issues and Decision Memorandum (IDM) (P.R. 323), as amended by

Welded Line Pipe From the Republic of Korea, 84 Fed. Reg. 35,371 (Dep’t of Commerce July

23, 2019) (amended final admin. review) (P.D. 344) (collectively, Final Results) covering the

period of review from December 1, 2016 through November 30, 2017. Relevant here, in the

Final Results, Commerce adjusted respondent NEXTEEL Co., Ltd.’s (NEXTEEL’s) reported

costs to value the downgraded non-prime products at their sales price, while allocating the

difference between the reported full production cost and market value of the non-prime products

to the production costs of prime-quality welded line pipe (WLP).

       NEXTEEL challenged Commerce’s Final Results before this Court, arguing, among

other things, that Commerce’s decision to adjust the company’s constructed value to account for

sales of non-prime products was unlawful and unsupported by record evidence. On August 26,

2020, the Court remanded the Final Results for Commerce to “explain why its practice is

reasonable and how its determination… accords with {that} practice.” Husteel Co. Ltd. v.

United States, 471 F. Supp. 3d 1349, 1367 (Ct. Int’l Trade 2020). On remand, Commerce

provided further explanation regarding its adjustment to NEXTEEL’s constructed value. Final

Results of Redetermination Pursuant to Court Remand (Dep’t of Commerce Jan. 7, 2021), ECF



1“P.R.” and “Remand P.R.” refer to the public records of the original review and remand
proceeding, respectively.

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No. 84. On June 7, 2021, the Court again remanded to Commerce for further explanation or

reconsideration of its adjustment consistent with the United States Court of Appeals for the

Federal Circuit’s decision in Dillinger France S.A. v. United States, 981 F.3d 1318 (Fed. Cir.

2020) (Dillinger). Remand Order, 520 F. Supp. 3d at 1308-1310. Specifically, the Court held

that “Commerce’s explanation of its practice is inadequate,” and that “Dillinger calls into

question whether or not Commerce’s treatment of NEXTEEL’s non-prime WLP products

complies with the statute.” Id. at 1309.

       Commerce filed its Second Redetermination with the Court on September 2, 2021. On

remand, Commerce reversed its finding with respect to reallocation of NEXTEEL’s non-prime

WLP products, relying instead on the actual costs of prime and non-prime products as reported

by NEXTEEL. Second Redetermination at 3-5. As a result, Commerce recalculated the

weighted-average dumping margins for NEXTEEL and non-examined companies, which have

changed from 11.67 percent to 11.41 percent and 9.21 percent to 9.09 percent, respectively.

                                           ARGUMENT

       As set forth below, Commerce’s Second Redetermination fully complies with the Court’s

order, is supported by substantial evidence, and is in accordance with law.

I.     Standard Of Review

       This Court sustains Commerce’s determinations unless they are “unsupported by

substantial evidence on the record, or otherwise not in accordance with law.” Bristol Metals L.

P. v. United States, 703 F. Supp. 2d 1370, 1373 (Ct. lnt’l Trade 2010) (quoting 19 U.S.C.

§ 1516a(b)(1)(B)(i)). “The court will sustain {Commerce’s} determination upon remand if it

complies with the court’s remand order, is supported by substantial evidence on the record, and

is otherwise in accordance with law.” Jinan Yipin Corp. Ltd. v. United States, 637 F. Supp. 2d


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1183, 1185 (Ct. Int’l Trade 2009) (citations omitted).

II.    Commerce’s Decision To Reverse Its Adjustment Of NEXTEEL’s Reported Costs Is
       Supported By Substantial Evidence And Is In Accordance With Law

       Commerce’s decision to reverse the adjustment of NEXTEEL’s reported costs of

production of non-prime pipe is consistent with the Court’s order and with the Federal Circuit’s

holding in Dillinger. As this Court explained, Dillinger “holds that Commerce must calculate

constructed value based on the actual costs incurred in the production of prime and non-prime

products.” Remand Order, 520 F. Supp. 3d at 1309 (citing Dillinger, 981 F. 3d at 1321-24 &

n.1). The Court elaborated that “the legislative history to § 1677b(f) demonstrates Congress’

clear intent that costs used to construct the value of subject merchandise ‘accurately reflect the

resources actually used in the production of the merchandise in question{.}’” Id. (quoting S.

REP. NO. 103-412, at 75 (1994), and Dillinger, 981 F. 3d at 1321 n.1). Accordingly, the Court

concluded that “{s}ince Commerce’s methodology involves using likely sales value for

non-prime products instead of actual costs as reported by NEXTEEL, Dillinger calls into

question whether or not Commerce’s treatment of NEXTEEL’s non-prime WLP products

complies with the statute.” Id.

       On remand, Commerce reversed the adjustment to NEXTEEL’s reported costs, which it

made in the Final Results, and relied on the actual costs of prime and non-prime products as

reported by NEXTEEL. Second Redetermination at 3. As Commerce explained, because

“NEXTEEL does not separately classify prime and non-prime products, nor does it value these

products differently for inventory purposes, but rather assigns them full cost,” the company’s

“reported costs reflect the actual costs of producing its non-prime products.” Id. at 5.

Commerce’s decision is consistent with NEXTEEL’s reporting in its normal books and records,



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the statute, the Court’s order, and the Federal Circuit’s holding in Dillinger, in which the Court

stated that Commerce is required to determine the actual costs of prime and non-prime products.

       Maverick objects to Commerce’s reversal of the adjustment as inconsistent with both

Dillinger and this Court’s order. Maverick Br. at 8. Maverick also claims that the Remand Order

did not require reversal, but further explanation or reconsideration in light of Dillinger. Id.

Contrary to Maverick’s arguments, this Court held that Commerce’s adjustments to NEXTEEL’s

reported costs for prime and non-prime products were inconsistent with Dillinger, “{s}ince

Commerce’s methodology involves using likely sales value for non-prime products instead of

actual costs as reported by NEXTEEL.” Remand Order, 520 F. Supp. 3d at 1309. By eliminating

these adjustments to reported costs, Commerce complied with this Court’s order, which relied on

Dillinger.

       Maverick also argues that the key distinction between this case and Dillinger is that, in

Dillinger, Commerce relied on the respondent’s normal books and records, which the Federal

Circuit determined did not accurately reflect production costs, whereas here Commerce originally

adjusted the reported costs from NEXTEEL’s books and records – that is, deviated from those

books and records. Maverick Br. at 9. However, the allocation in the respondent’s normal books

and records in Dillinger, which the Federal Circuit rejected, was substantially similar to

Commerce’s original adjustment in this case, which Commerce reversed on remand. If

Commerce were to agree with Maverick in this case, which it does not, Commerce would have

had an additional burden to justify a departure from NEXTEEL’s normal books and records.

       Further, Maverick contends that section 1677b(f)(1)(A) does not require Commerce to

use NEXTEEL’s normal books and records in all circumstances, but only provides that

Commerce will normally do so. Maverick Br. at 10 (citing Letter from White & Case LLP to Sec’y


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Commerce, re: Welded Line Pipe from the Republic of Korea: Final Results of Antidumping Duty

Administrative Review, 2016-2017, Remand: Comments on Draft Results of Redetermination

Pursuant to Court Remand (Aug. 19, 2021) (Remand P.R. 6)). This may be true, but here

Commerce simply reversed an adjustment to the reported cost after this Court found that the

adjustment, which Maverick favors, did not reflect actual costs. Remand Order, 520 F. Supp. 3d

at 1309 (“Since Commerce’s methodology involves using likely sales value for non-prime

products instead of actual costs as reported by NEXTEEL, Dillinger calls into question whether

or not Commerce’s treatment of NEXTEEL’s non-prime WLP products complies with the

statute.”).

        Finally, Maverick advances several arguments in favor of Commerce’s approach in the

Final Results including an assertion that the agency is entitled to deference. Maverick Br. 5-8.

These arguments, however, were previously rejected by this Court and provide no basis for reversal.

Indeed, Dillinger, as interpreted by this Court in the Remand Order, precludes Commerce from

making the adjustment to NEXTEEL’s reported costs that Maverick seeks.

                                         CONCLUSION

        For these reasons, we respectfully request that the Court sustain Commerce’s Second

Redetermination.

                                                      Respectfully Submitted,

                                                      BRYAN M. BOYNTON
                                                      Acting Assistant Attorney General

                                                      JEANNE E. DAVIDSON
                                                      Director

                                                      /s/ L. Misha Preheim
                                                      L. MISHA PREHEIM
                                                      Assistant Director


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                             CERTIFICATE OF COMPLIANCE

       I hereby certify that Defendant’s Response to Comments on the Remand Redetermination

complies with the word count limitation under the Court’s standard chambers procedures, and

contains 1,431 words, including text, footnotes, and headings.




                                                    /s/ Robert R. Kiepura
